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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT TEXAS
                               HOUSTON DIVISION

JASON MCGEHEE, et al.,                       §
     Plaintiffs,                             §
                                             §               Case No. 4:18-mc-01546
v.                                           §
                                             §               Related to E.D. Ark. Case
TEXAS DEPARTMENT OF                          §               No. 4:17-CV-00179-KGB
CRIMINAL JUSTICE,                            §
     Defendant.                              §


                                         ORDER

       Came to be considered the Texas Department of Criminal Justice’s Motion to Dismiss

Plaintiffs’ Motion to Compel Compliance with Subpoena. The Court has reviewed the pleadings

and briefs of the parties and finds that said Motion should be and is GRANTED this ______day

of June 2018.


                                          _______________________________
                                          UNITED STATES DISTRICT JUDGE
                                          SIM LAKE
